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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

BROWNSVILLE DIVISION

B.X., a minor, §
§
Petitioner/Plaintiff, §
§
Vv. §
§

JONATHAN HAYES, in his official § CIVIL ACTION NO. 1:19-cv-00017
capacity as Interim Director of the Office §
of Refugee Resettlement, and §
SERVANDO BARRERA, in his official §
capacity as Federal Field Specialist, §
Office of Refugee Resettlement, §
§

Respondent/Defendant.
PLAINTIFF’S DESIGNATION OF EXPERT WITNESS
Plaintiff, B.X., hereby designates the following expert witness:

1. Amy J. Cohen, M.D.
815 N. Harper Avenue
Los Angeles, CA 90046
Tel. (339) 223-0695

Email: acohen8919@mac.com

Dr. Cohen will testify regarding the emotional and medical condition of Plaintiff caused

by his prolonged incarceration and the improper care of his leg fracture.
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Respectfully submitted,

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= LA

By: Ricardo de Anda
ATTORNEYS FOR PETITIONER/PLAINTIFF

CERTIFICATE OF SERVICE

I hereby certify that on May 17, 2019, I electronically filed the foregoing with the Clerk of
the United States District court for the Southern District of Texas by using the Court’s Electronic

Filing (“ECF”) system. A true and correct copy of this brief has been served via the Court’s ECF

system on:

E. Paxton Warner

Assistant United States Attorney
1701 W. Bus. Hwy. 83, Suite 600
McAllen, TX 78501

Paxton. Warner@usdoj.gov

In addition, on May 17, 2019, I sent a copy of this filing by electronic mail to:

Sarah B. Fabian

Senior Litigation Counsel

Office of Immigration Litigation-District Court Section
Sarah.b.fabian@usdoj.gov

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Ricardo de Anda

No
